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   AF Approval ~,'1:-


                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

   UNITED STATES OF AMERICA

            V.                                      CASE NO. 5:22-cr- 5-JA-PRL

   GEORGE UTLEY

                                 PLEA AGREEMENT

            Pursuant to Fed. R . Crim. P. l l(c), the United States of America, by

   Roger B. Handberg, United States Attorney for the Middle District of Florida,

   and the defendant, George Utley, and the attorney for the defendant, Summer

   Goldman, Esquire, mutually agree as follows:

   A.       Particularized Terms

            1.    Count Pleading To

                  The defendant shall enter a plea of guilty to Count One of the

   information. Count One charges the defendant with receipt of stolen

   government property (PECA disability benefits), in violation of 18 U .S.C.

   § 641.

            2.    Maximum Penalties

                  Count One carries a maximum sentence of not more than 10

   years ' imprisonment; a fine of not more than $250 ,000 , or twice the gross gain

   caused by the offense , or twice the gross loss caused by the offense , whichever




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  is greater; a term of supervised release of not more than 3 years; and a special

  assessment of$100. With respect to certain offenses, the Court shall order the

  defendant to make restitution to any victim of the offense, and with respect to

  other offenses, the Court may order the defendant to make restitution to any

  victim of the offense, or to the community, as set forth below.

         3.    Elements of the Offense

               The defendant acknowledges understanding the nature and

  elements of the offense with which the defendant has been charged and to

  which the defendant is pleading guilty. The elements of Count One are:

               First:           The defendant knowingly received, concealed, or
                                retained money or property of value;

               Second:          The money or property belonged to the United
                                States;

               Third:           The defendant knew that the money or property had
                                been embezzled, stolen, or converted from the
                                United States;

               Fourth:          The defendant intended to convert the money or
                                property to his or her own use or gain; and,

               Fifth:       The aggregate value of the money or property
                            exceeded $1,000.




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         4.     Indictment Waiver

                Defendant will waive the right to be charged by way of

  indictment before a federal grand jury.

         5.     No Further Charges

                If the Court accepts this plea agreement, the United States

  Attorney's Office for the Middle District of Florida agrees not to charge

  defendant with committing any other federal criminal offenses known to the

  United States Attorney's Office at the time of the execution of this agreement,

  related to the conduct giving rise to this plea agreement. These other felony

  charges include, but are not limited to: theft of government funds (Social

  Security benefit payments) , in violation of 18 U.S.C. § 641; mail fraud , in

  violation of 18 U.S.C. § 1341; wire fraud, in violation of 18 U.S.C. § 1343; and

  making a false statement/fraud in order to obtain Federal Employees'

  Compensation Act benefits , in violation of 18 U.S.C. § 1920.

        6.     Waiver of Statute of Limitations Defense

               The defendant stipulates and agrees that the offense charged in

  Count One- receipt of stolen government property (FECA disability

  benefits), in violation of 18 U .S.C. § 641-is a continuing offense , and that the

  conduct described in the Factual Basis of this plea agreement is not subject to

  a subject oflimitations defense under 18 U.S .C. § 3282(a) . Even if the Court




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  determines that the crime charged in Count One is not a continuing offense,

  however, the defendant stipulates and agrees to waive any such statute of

  limitations defense to said conduct.

         7.    Mandatory Restitution to Victim of Offense of Conviction

               Pursuant to 18 U .S.C. § 3663A(a) and (b) , defendant agrees to

  make full restitution to the United States Department of Labor, Office of

  Workers' Compensation Programs (DOL-OWCP).

         8.    Guidelines Sentence

               Pursuant to Fed. R. Crim. P. 1 l(c)(l )(B), the United States will

  recommend to the Court that the defendant be sentenced within the

  defendant's applicable guidelines range as determined by the Court pursuant

  to the United States Sentencing Guidelines , as adjusted by any departure the

  United States has agreed to recommend in this plea agreement. The parties

  understand that such a recommendation is not binding on the Court and that,

  if it is not accepted by this Court, neither the United States nor the defendant

  will be allowed to withdraw from the plea agreement, and the defendant will

  not be allowed to withdraw from the plea of guilty.

        9.     Acceptance of Responsibility - Three Levels

               At the time of sentencing, and in the event that no adverse

  information is received suggesting such a recommendation to be unwarranted ,




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   the United States will recommend to the Court that the defendant receive a

   two-level downward adjustment for acceptance of responsibility, pursuant to

   USSG § 3El. l(a) . The defendant understands that this recommendation or

  request is not binding on the Court, and if not accepted by the Court, the

  defendant will not be allowed to withdraw from the plea.

                  Further, at the time of sentencing, if the defendant's offense level

  prior to operation of subsection (a) is level 16 or greater, and if the defendant

  complies with the provisions of USSG § 3E 1.1 (b) and all terms of this Plea

  Agreement, including but not limited to, the timely submission of the financial

  affidavit referenced in Paragraph B.5 ., the United States agrees to file a motion

  pursuant to USSG § 3El. l(b) for a downward adjustment of one additional

  level. The defendant understands that the determination as to whether the

  defendant has qualified for a downward adjustment of a third level for

  acceptance of responsibility rests solely with the United States Attorney for the

  Middle District of Florida, and the defendant agrees that the defendant cannot

  and will not challenge that determination , whether by appeal , collateral attack,

  or otherwise.

         10.   Low End

               At the time of sentencing, and in the event that no adverse

  information is received suggesting such a recommendation to be unwarranted ,




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   the United States will not oppose the defendant's request to the Court that the

   defendant receive a sentence at the low end of the applicable guideline range,

   as calculated by the Court. The defendant understands that this

   recommendation or request is not binding on the Court, and if not accepted by

   the Court, the defendant will not be allowed to withdraw from the plea.

          61.    Forfeiture of Assets

                 The defendant agrees to forfeit to the United States immediately

   and voluntarily any and all assets and property, or portions thereof, subject to

   forfeiture, pursuant to 18 U.S.C. § 98l(a)(l)(C) and 28 U.S.C. § 246l(c),

   whether in the possession or control of the United States, the defendant or

   defendant's nominees . The assets to be forfeited specifically include, but are
                     h32,l\sq..i4, ~
   not limited to , the $740 ,542.38 in proceeds the defendant admits he obtained,

   as the result of the commission of the offense(s) to which the defendant is

   pleading guilty. The defendant acknowledges and agrees that: (1) the

   defendant obtained this amount as a result of the commission of the offense(s),

   and (2) as a result of the acts and omissions of the defendant, the proceeds

   have been transferred to third parties and cannot be located by the United

   States upon the exercise of due diligence. Therefore, the defendant agrees

   that, pursuant to 21 U.S .C. § 853(p), the United States is entitled to forfeit any

   other property of the defendant (substitute assets) , up to the amount of




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   proceeds the defendant obtained, as the result of the offense(s) of conviction.

   The defendant further consents to, and agrees not to oppose, any motion for

   substitute assets filed by the United States up to the amount of proceeds

   obtained from commission of the offense(s) and consents to the entry of the

   forfeiture order into the Treasury Offset Program. The defendant agrees that

   forfeiture of substitute assets as authorized herein shall not be deemed an

   alteration of the defendant's sentence.

                The defendant additionally agrees that since the criminal

   proceeds have been transferred to third parties and cannot be located by the

   United States upon the exercise of due diligence, the preliminary and final

   orders of forfeiture should authorize the United States Attorney's Office to

   conduct discovery (including depositions, interrogatories, requests for

   production of documents , and the issuance of subpoenas), pursuant to Rule

   32.2(b)(3) of the Federal Rules of Criminal Procedure, to help identify, locate,

  and forfeit substitute assets.

                The defendant also agrees to waive all constitutional, statutory,

  and procedural challenges (including direct appeal , habeas corpus, or any

  other means) to any forfeiture carried out in accordance with this Plea

  Agreement on any grounds , including that the forfeiture described herein

  constitutes an excessive fine , was not properly noticed in the charging




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   instrument, addressed by the Court at the time of the guilty plea, announced at

   sentencing, or incorporated into the judgment.

                The defendant admits and agrees that the conduct described in

   the Factual Basis below provides a sufficient factual and statutory basis for the

   forfeiture of the property sought by the government. Pursuant to Rule

   32.2(b)(4), the defendant agrees that the preliminary order of forfeiture will

   satisfy the notice requirement and will be final as to the defendant at the time

   it is entered. In the event the forfeiture is omitted from the judgment, the

   defendant agrees that the forfeiture order may be incorporated into the written

   judgment at any time pursuant to Rule 36.

                The defendant agrees to take all steps necessary to identify and

   locate all substitute assets and to transfer custody of such assets to the United

   States before the defendant's sentencing. To that end , the defendant agrees to

   make a full and complete disclosure of all assets over which defendant

   exercises control, including all assets held by nominees , to execute any

   documents requested by the United States to obtain from any other parties by

   lawful means any records of assets owned by the defendant, and to consent to

   the release of the defendant's tax returns for the previous five years. The

   defendant agrees to be interviewed by the government, prior to and after

   sentencing, regarding such assets. The defendant further agrees to be




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   polygraphed on the issue of assets, if it is deemed necessary by the United

   States. The defendant agrees that Federal Rule of Criminal Procedure 11 and

   USSG § IBI .8 will not protect from forfeiture assets disclosed by the

   defendant as part of the defendant's cooperation.

                The defendant agrees to take all steps necessary to assist the

   government in obtaining clear title to any substitute assets before the

   defendant's sentencing. In addition to providing full and complete

   information about substitute assets, these steps include, but are not limited to,

   the surrender of title, the signing of a consent decree of forfeiture, and signing

   of any other documents necessary to effectuate such transfers.

                Forfeiture of the defendant's assets shall not be treated as

   satisfaction of any fine, restitution, cost of imprisonment, or any other penalty

   the Court may impose upon the defendant in addition to forfeiture.

                The defendant agrees that, in the event the Court determines that

   the defendant has breached this section of the Plea Agreement, the defendant

   may be found ineligible for a reduction in the Guidelines calculation for

  acceptance of responsibility and substantial assistance, and may be eligible for

  an obstruction of justice enhancement.

         The defendant agrees that the forfeiture provisions of this plea

  agreement are intended to, and will, survive the defendant, notwithstanding




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    the abatement of any underlying criminal conviction after the execution of this

    agreement. The forfeitability of any particular property pursuant to this

    agreement shall be determined as if the defendant had survived, and that

    determination shall be binding upon defendant's heirs, successors and assigns

    until the agreed forfeiture , including the forfeiture of any substitute assets, is

    final.

   B.        Standard Terms and Conditions

             I.   Restitution, Special Assessment and Fine

                  The defendant understands and agrees that the Court, in addition

   to or in lieu of any other penalty, shall order the defendant to make restitution

   to any victim of the offense(s), pursuant to 18 U .S.C. § 3663A, for all offenses

   described in 18 U .S.C. § 3663A(c)(l); and the Court may order the defendant

   to make restitution to any victim of the offense(s) , pursuant to 18 U .S.C. §

   3663 , including restitution as to all counts charged , whether or not the

   defendant enters a plea of guilty to such counts, and whether or not such

   counts are dismissed pursuant to this agreement. The defendant further

   understands that compliance with any restitution payment plan imposed by

   the Court in no way precludes the United States from simultaneously pursuing

   other statutory remedies for collecting restitution (28 U .S.C . § 3003(b)(2)),

   including, but not limited to, garnishment and execution , pursuant to the




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    Mandatory Victims Restitution Act, in order to ensure that the defendant's

    restitution obligation is satisfied.

                  On each count to which a plea of guilty is entered, the Court

    shall impose a special assessment pursuant to 18 U.S.C. § 3013. The special

    assessment is due on the date of sentencing. The defendant understands that

   this agreement imposes no limitation as to fine .

           2.     Supervised Release

                  The defendant understands that the offense(s) to which the

   defendant is pleading provide(s) for imposition of a term of supervised release

   upon release from imprisonment, and that, if the defendant should violate the

   conditions of release, the defendant would be subject to a further term of

   imprisonment.

           3.     Immigration Consequences of Pleading Guilty

                  The defendant has been advised and understands that, upon

   conviction, a defendant who is not a United States citizen may be removed

   from the United States, denied citizenship, and denied admission to the

   United States in the future .

          4.      Sentencing Information

                  The United States reserves its right and obligation to report to the

   Court and the United States Probation Office all information concerning the




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   background, character, and conduct of the defendant, to provide relevant

    factual information, including the totality of the defendant's criminal activities,

    if any, not limited to the count(s) to which defendant pleads , to respond to

   comments made by the defendant or defendant's counsel, and to correct any

   misstatements or inaccuracies. The United States further reserves its right to

   make any recommendations it deems appropriate regarding the disposition of

   this case, subject to any limitations set forth herein, if any.

          5.     Financial Disclosures

                 Pursuant to 18 U.S .C. § 3664(d)(3) and Fed . R . Crim. P.

   32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United

   States Attorney's Office within 30 days of execution of this agreement an

   affidavit reflecting the defendant's financial condition. The defendant

   promises that her financial statement and disclosures will be complete,

   accurate and truthful and will include all assets in which he has any interest or

   over which the defendant exercises control, directly or indirectly, including

   those held by a spouse , dependent, nominee or other third party. The

   defendant further agrees to execute any documents requested by the United

   States needed to obtain from any third parties any records of assets owned by

   the defendant, directly or through a nominee , and, by the execution of this

   Plea Agreement, consents to the release of the defendant's tax returns for the




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   previous five years. The defendant similarly agrees and authorizes the United

   States Attorney's Office to provide to, and obtain from, the United States

   Probation Office, the financial affidavit, any of the defendant's federal, state,

   and local tax returns, bank records and any other financial information

   concerning the defendant, for the purpose of making any recommendations to

   the Court and for collecting any assessments, fines, restitution, or forfeiture

   ordered by the Court. The defendant expressly authorizes the United States

   Attorney's Office to obtain current credit reports in order to evaluate the

   defendant's ability to satisfy any financial obligation imposed by the Court.

         6.     Sentencing Recommendations

                It is understood by the parties that the Court is neither a party to

   nor bound by this agreement. The Court may accept or reject the agreement,

   or defer a decision until it has had an opportunity to consider the presentence

   report prepared by the United States Probation Office. The defendant

   understands and acknowledges that, although the parties are permitted to

   make recommendations and present arguments to the Court, the sentence will

   be determined solely by the Court, with the assistance of the United States

   Probation Office. Defendant further understands and acknowledges that any

   discussions between defendant or defendant's attorney and the attorney or

   other agents for the government regarding any recommendations by the




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   government are not binding on the Court and that, should any

   recommendations be rejected, defendant will not be permitted to withdraw

   defendant's plea pursuant to this plea agreement. The government expressly

   reserves the right to support and defend any decision that the Court may make

   with regard to the defendant's sentence, whether or not such decision is

   consistent with the government's recommendations contained herein.

         7.     Defendant's Waiver of Right to Appeal the Sentence

                The defendant agrees that this Court has jurisdiction and

   authority to impose any sentence up to the statutory maximum and expressly

   waives the right to appeal defendant's sentence on any ground, including the

   ground that the Court erred in determining the applicable guidelines range

   pursuant to the United States Sentencing Guidelines , except (a) the ground

   that the sentence exceeds the defendant's applicable guidelines range as

   determined by the Court pursuant to the United States Sentencing Guidelines;

   (b) the ground that the sentence exceeds the statutory maximum penalty; or (c)

   the ground that the sentence violates the Eighth Amendment to the

   Constitution; provided, however, that if the government exercises its right to

   appeal the sentence imposed , as authorized by 18 U.S.C. § 3742(b), then the

   defendant is released from his waiver and may appeal the sentence as

   authorized by 18 U.S.C . § 3742(a).




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          8.     Middle District of Florida Agreement

                 It is further understood that this agreement is limited to the

   Office of the United States Attorney for the Middle District of Florida and

   cannot bind other federal , state, or local prosecuting authorities, although this

   office will bring defendant's cooperation , if any, to the attention of other

   prosecuting officers or others, if requested.

          9.     Filing of Agreement

                This agreement shall be presented to the Court, in open court or

   in camera, in whole or in part, upon a showing of good cause , and filed in this

   cause , at the time of defendant's entry of a plea of guilty pursuant hereto.

          10.   Voluntariness

                The defendant acknowledges that defendant is entering into this

   agreement and is pleading guilty freely and voluntarily without reliance upon

   any discussions between the attorney for the government and the defendant

   and defendant's attorney and without promise of benefit of any kind (other

   than the concessions contained herein), and without threats , force ,

   intimidation , or coercion of any kind . The defendant further acknowledges

   defendant's understanding of the nature of the offense or offenses to which

   defendant is pleading guilty and the elements thereof, including the penalties

   provided by law, and defendant's complete satisfaction with the representation




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   and advice received from defendant's undersigned counsel (if any). The

   defendant also understands that defendant has the right to plead not guilty or

   to persist in that plea if it has already been made , and that defendant has the

   right to be tried by a jury with the assistance of counsel, the right to confront

   and cross-examine the witnesses against defendant, the right against

   compulsory self-incrimination, and the right to compulsory process for the

   attendance of witnesses to testify in defendant's defense; but, by pleading

   guilty, defendant waives or gives up those rights and there will be no trial.

   The defendant further understands that if defendant pleads guilty , the Court

   may ask defendant questions about the offense or offenses to which defendant

   pleaded, and if defendant answers those questions under oath, on the record,

   and in the presence of counsel (if any) , defendant's answers may later be used

   against defendant in a prosecution for perjury or false statement. The

   defendant also understands that defendant will be adjudicated guilty of the

   offenses to which defendant has pleaded and , if any of such offenses are

   felonies , may thereby be deprived of certain rights, such as the right to vote , to

   hold public office, to serve on a jury, or to have possession of firearms .

          11 .   Factual Basis

                 Defendant is pleading guilty because defendant is in fact guilty.

   The defendant certifies that defendant does hereby admit that the facts set




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   forth in the attached "Factual Basis," which is incorporated herein by

   reference, are true, and were this case to go to trial, the United States would be

   able to prove those specific facts and others beyond a reasonable doubt.

          12.   Entire Agreement

                This plea agreement constitutes the entire agreement between the

   government and the defendant with respect to the aforementioned guilty plea

   and no other promises, agreements, or representations exist or have been

   made to the defendant or defendant's attorney with regard to such guilty plea.

          13.   Certification

                The defendant and defendant's counsel certify that this plea

   agreement has been read in its entirety by (or has been read to) the defendant

   and that defendant fully understands its terms.

         DATED this /      2     day of ( 7 ~~11?~ , 2022 .

                                                   ROGER B. HANDBERG




                                                   Robert E. Bodnar, Jr.
   Defendant                                       Assistant United States Attorney
                                                   C · f, Ocala Division



   Summer Goldman, Esquire                   fo~   Jay TrCz'!Clfant I L\Al'>'l.5 R,-.,~,A m,wDA
   Attorney for Defendant                          Assistant United States Attorney
                                                   Chief, Criminal Division - NO~~




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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            OCALA DIVISION

   UNITED STATES OF AMERICA

   V.                                       CASE NO. 5:22-cr- 5-JA-PRL

   GEORGE UTLEY

                     PERSONALIZATION OF ELEMENTS

        Do you agree that beginning on or about January 27 , 2009 , and

  continuing through on or about March 17, 2019, in the Middle District of

  Florida, and elsewhere, you knowingly received, concealed, or retained

  money or property of value , specifically, Federal Employees' Compensation

  Act (PECA) disability benefit payments?


        Do you agree that the money or property belonged to the United States,

  specifically, the United States Department of Labor?


        Do you agree that you knew that the money or property had been stolen

  or converted from the United States?


        Do you agree that you intended to convert the money or property to

  your own use or gain?




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          Do you agree that the aggregate value of the money or property

   exceeded $1 ,000?




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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

       UNITED STATES OF AMERICA

       V.                                        CASE NO. 5:22-cr -5-JA-PRL

       GEORGE UTLEY

                                    FACTUAL BASIS

                       FECA Benefits Form EN-1032 and CA-1

            The Federal Employees' Compensation Act (FECA) is codified in 5

   U.S.C . §§ 8101 and 8193. FECA is administered by the Department of Labor,

   Office of W orker's Compensation Programs (DOL-OWCP). FECA provides

   compensation benefits, which include medical payments and lost wages, to

   civilian employees of the United States for disability due to personal injury

   sustained while in the performance of their duties. 1 FECA also provides

   compensation for employment-related disease . Benefits available to injured

   employees include coverage of rehabilitation, medical, surgical, and other




   1
     The DOL-OWCP disability program is a "return to work" program. It is designed
   to preserve an injured worker's income and provide for medical care/rehabilitation
   with the goal of returning the injured person to the USPS workforce in some
   capacity. It would not be unheard of for a mail handler, like the defendant in this
   case , to return to work as a "greeter" or telephone operator at a post office at the
   same salary level, provided the new position met any physical restrictions imposed
   by medical professionals .




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   necessary expenses. PECA provides compensation to dependents if the injury

   or disease causes the employee's death.

         Claimants make an initial application for benefits by completing and

  submitting a DOL-OWCP form CA-I and supporting medical evidence. Such

  medical evidence must be factually correct, include findings on examination,

  and the physician's opinion supported by medical rationale , showing how the

  injury caused the claimant disability from his or her work. The CA-I form

  requires , in the pertinent part:

                "Any person who knowingly makes any false statement,
                misrepresentation, concealment of fact , or any other act of fraud
                to obtain compensation as provided by the PECA or who
                knowingly accepts compensation for which that person is not
                entitled is subject to civil or administrative remedies as well as
                felony criminal prosecution and may under appropriate criminal
                provisions, be punished by fine or imprisonment or both."

         The DOL-OWCP requires long-term disabled employees to periodically

  complete and submit an EN-1032 form , Part A. This form requires the benefit

  recipient to report any changes in their specified medical condition. 2 It also

  requires the recipient to indicate any work or earnings during the previous 15




  2
   The fust page of the form clearly states that "you must report to OWCP any
  improvement in your medical condition" (emphasis in original) because the
  information is used to determine continued eligibility for benefit payments .



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   months. With regard to any work or earnings , the EN-1032 from reads, in

   pertinent part:

                Report ALL employment for which you received a
                salary, wages , income, sales, commissions ,
                piecework, or payment of any kind. Such
                employment includes service with the military
                forces of the United States, including the National
                Guard, Reserve components , or other affiliates.

                Report ALL self-employment or involvement in
                business enterprises. These include but are not
                limited to: farming; sales work; operating a
                business , including a store or a restaurant; and
                providing services in exchange for money , goods , or
                other services. The kinds of services which you
                must report include such activities as carpentry,
                mechanical work, painting, contracting, child care ,
                odd jobs, etc. Report activities such as keeping
                books and records , or managing and/ or overseeing
                a business of any kind, including a family business.
                Even if your activities were part time or
                intermittent, you must report them.

                Report as your "rate of pay" what you were paid.
                Include the value of such things as housing, meals ,
                clothing, and reimbursed expenses , if they were part
                of your employment.

                Report ANY work or ownership interest in any
                business enterprise , even if the business lost money
                or if profits or income were reinvested or paid to
                others. If you performed any duties in any business
                enterprise for which you were not paid , you must
                show as rate of pay what it would have cost the



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                employer or organization to hire someone to
                perform the work or duties you did, even if your
                work was for yourself or a family member or
                relative. You need not list any ownership or passive
                investment in any publicly traded business.

   Part E (Third Party Settlements) states in the pertinent part:

                In the past 15 months , did you receive any settlement or
                a ward from a claim or suit against a third party in
                connection with an injury or illness for which you receive
                compensation? This includes any product liability or
                medical malpractice settlement/award you have received
                that relates to treatment for your accepted injury or illness.

   In the certification section, where the applicant is required to sign and

   date the document, the EN-I 032 form states:

                I know that anyone who fraudulently conceals or
                fails to report income or other information which
                would have an effect on benefits , or who makes a
                false statement or misrepresentation of a material
                fact in claiming a payment or benefit under the
                Federal Employees Compensation Act may be
                subject to criminal prosecution, from which a fine
                or imprisonment, or both, may result.

                                        ***
                I understand that I must immediately report to
                OWCP any employment or employment activity,
                any change in the status of claimed dependents , any
                third party settlement, and any monies or income or
                change in monies or income from Federally assisted
                disability or benefit programs.




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                 I certify that all the statements made in response to
                 questions on this form are true, complete and
                 correct to the best of my knowledge and belief.

                           False Statements by Utley

          The defendant, George Utley (Utley), was a mail handler employed by

   the United States Postal Service (USPS). Following Utley's January 2009

   allegation of a work-related back injury at a Pennsylvania USPS facility , he

   became a recipient of PECA benefits as of January 27 , 2009.3 As a benefit

   recipient, Utley was required to file an annual DOL-OWCP EN-1032 form for

   wage loss claims in order to receive compensation. As noted above , Utley was

   obligated to report on this form any employment he had undertaken or income

   he had earned during the preceding 15 months. In fact , the EN-1032 forms

   that Utley filed required him to acknowledge his obligation to immediately

   report to DOL-OWCP any improvement in his medical condition , any change

   in his employment status , or any third-party settlements.

          On September 12 , 2012 , the DOL-OWCP sent Utley a letter warning

   him that he had failed to submit a required EN-1032 on July 3, 2012 . This

   warning also informed him that his benefits would be suspended until the



   3
    As further described herein, Utley initially was denied FECA benefits. He
   successfully appealed that decision in 2011, however, causing benefits to
   immediately be paid to him (including benefits dating back to the month of alleged
   injury - January 2009).



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   DOL-OWCP received the completed form EN-1032. The pertinent part of this

   warning stated:

                Section 10.528 of the office's regulations requires
                the claimant to report earnings from any
                remunerative employment, whether full or part
                time. If timely response is not made, the right to
                compensation for wage loss is suspended until the
                report is received, at which time compensation will
                be restored retroactively. If an employee omits or
                understates earnings , compensation will be declared
                forfeit for the period involved. Moreover, criminal
                prosecution may result if deliberate falsehood is
                employed in providing answers.

         From September 12, 2012 to July 2, 2018, Utley prepared and signed

   seven EN-1032 forms, including at least four specifically in the Middle District

   of Florida (2015-2018). On each of the forms, Utley was obligated to report

   any third-party settlements received, employment he had undertaken or

   income he had earned during the preceding 15 months. Utley received these

  EN-1032 forms by mail from the DOL-OWCP; he returned these forms to the

  DOL-OWCP in the same manner. Importantly, at no time during his receipt

  oflong-term disability benefits did Utley report any improvement in his

  medical condition. He also did not report any type of employment, income,

  salary, settlements, or work activity. On the dates listed below, Utley




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   completed, signed and certified the following EN-1032 forms and submitted

   them from the listed (redacted) addresses:

         9/12/2012       EN-1032        XXX Pine Street, 19036 - (215) XXX-8047

         8/1/2013        EN-1032       XXX Pine Street, 19036 - (215) XXX-8047

         7/8/2014        EN-1032       XX Bolton Lane, Willingboro NJ 08046

         7/27/2015       EN-1032       XXX Marion Oaks Manor, Ocala [Marion
                                       County} FL 34473

         7/25/2016       EN-1032       XXXX W Blossom Drive, Beverly Hills [Citrus
                                       County} FL 34465

         7/18/2017       EN-1032       XXXX W Blossom Drive, Beverly Hills [Citrus
                                       County} FL 34465

         7/2/2018        EN-1032       XXXX W Blossom Drive, Beverly Hills [Citrus
                                       County} FL 34465

         Each of the EN-1032 forms completed by Utley included the following

   questions, to which he supplied the corresponding answers:

                Q:       Did you work for any employer during the past 15 months?

                A:       "No."

                Q:       Were you self-employed or involved in any business enterprise in
                         the past 15 months?

                A:       "No."

                Q:    Rate ofpay?

                A:       "O "




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                 Q:       Actual Earnings?

                 A:       "O"

                 Q:        During the past 15 months did you perfonn any volunteer work
                          for which you received any fonn ofmonetary or kind
                          compensation?

                 A:       "No."

                 Q:        Did you receive any settlement or award from a claim or suit
                           against any third party in connection with any injury or illness
                          for which you receive compensation?

                 A:       "No. "

          Utley's submitted statements (listed above) were false. Furthermore, as

   a direct result of these false statements, Utley received at least $440,616.95

   (net) in benefit payments to which he was not entitled from the DOL-OWCP.

   These funds comprised property stolen from the United States.

                                Initiation of Utley's Claim

          On January 14, 2009 , George Utley filed a DOL-OWCP CA-1 form-

   claim for compensation benefits. In this form, Utley alleged that he had

   injured his lower back by standing up from a seated position in the breakroom

   at a postal facility . The claim was initially accepted as for "Sprain of Back,"

   but Utley later claimed he was disabled due a herniated disc at L5-S I. On

   November 19, 2010, the DOL-OWCP denied Utley's claim for compensation

   benefits, finding the medical evidence submitted failed to establish the




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    disability was causally related to the accepted work injury. Utley disagreed

    with the decision and requested an oral hearing with the DOL, Department of

    Hearings and Review.

          From April 7, 2009 to June 19, 2012, Utley was examined by Michael

   M. Cohen, M.D. Utley reported that he has suffered from no prior significant

    injuries or accidents. The following medical reports were submitted to DOL:




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                                                 GSB Building Suite 620, One
                                                                                 The Patient reports that they have suffered from no
       6/19/2012    Michael M Cohen MD         Belmont Avenue, Ba la Cynwyd,
                                                                                          prior signif icant injuries or accidents
                                                          PA 19004
                                                 GSB Building Suite 620, One
                                                                                 The Patient reports that t hey have suffered from no
        2/4/2012    Michael M Cohen MD         Belmont Avenue, Ba la Cynwyd,
                                                                                          prior significant inju ries o r accidents
                                                        PA 19004
                                                 GSB Building Suite 620, One
                                                                                 The Patient reports that they have suffe red from no
       9/26/2011    Michael M Cohen MD         Be lmont Avenue, Ba la Cynwyd,
                                                                                          prior significant injuries or accidents
                                                          PA 19004
                                                 GSB Building Suite 620, One
                                                                                 The Patient reports that they have suffe red from no
       6/27/2011    Michael M Cohen MD         Be lmont Avenue, Ba la Cynwyd,
                                                                                          prior significant injuries or accidents
                                                          PA 19004
                                                 GSB Building Suite 620, One
                                                                                 The Patient reports that they have suffered from no
       3/28/2011    Michael M Cohen MD         Be lmont Avenue, Bala Cynwyd,
                                                                                          prior significant inj urie s or acc ident s
                                                          PA 19004
                                                 GSB Building Suite 620, One
                                                                                 The Patient reports that they have suffered from no
        1/6/2011    Michael M Cohen MD         Belmont Avenue, Ba la Cynwyd,
                                                                                          prior significant injuries or acc idents
                                                          PA 19004
                                                 GSB Building Suite 620, One
                                                                                 The Patient reports that they have suffered from no
       7/27/2010    Michael M Cohen MD         Be lmont Avenue, Bala Cynwyd,
                                                                                          prior signifi cant injurie s or acc idents
                                                          PA 19004
                                                                                    The pat ient had pre -exist ing degeenrative disk
                                                1298 Cranson Blvd Suite 203,       disease, w ith the activity indicated on t he date of
       7/16/2010     Robert Draper MD
                                                  Crof to n Maryland 21114       the accident, the patient developed a herniated disc
                                                                                            that is present on objective MR I
                                                GSB Building Suite 620, One
                                                                                 The Patient reports that they have suffered from no
       5/3/2010     Michael M Cohen MD         Belmont Avenue, Ba la Cynwyd,
                                                                                          prior significant injuries or accidents
                                                          PA 19004
                                                GSB Building Suite 620, One
                                                                                 The Patient reports that they have suffered from no
       2/ 18/2010   M ichae l M Cohen MD       Belmont Avenue, Bala Cynwyd,
                                                                                          prior signif icant injuries or accidents
                                                          PA 19004
                                                GSB Building Suite 620, One
                                                                                 The Patient reports t hat they have suffered from no
       1/4/2010     Michael M Cohen MD         Belmont Avenue, Bala Cynwyd,
                                                                                          prior signif ica nt injuries or accidents
                                                         PA 19004
   '
                                                GSB Building Suite 620, One
       11/4/2009    Mi chael M Cohen MD        Belmont Avenue, Bala Cynwyd,             No prior significant inj uries or acc idents
                                                         PA 19004
                                                GSB Building Suite 620, One
                                                                                 The Patient reports that they have suffered from no
       9/ 23/2009   M ichael M Cohen MD        Be lmo nt Avenue, Bala Cynwyd,
                                                                                         prior significant injuries or accidents
                                                         PA 19004
                                                GSB Building Suite 620, One
                                                                                  Expla ing how its po ssible that Ut ley developed the
       9/3/2009     Michael M Cohen MD         Belmont Avenue, Ba la Cynwyd,
                                                                                       hern iated disc LS-Sl after his bac k stra in
                                                         PA 19004
                                                GSB Building Suite 620, One
                                                                                 The Patient reports that they have suffered from no
       8/ 10/2009   Michael M Cohen MD         Belmont Avenue, Ba la Cynwyd,
                                                                                         prior significant injuries or accidents
                                                         PA 19004
                                                                                 Disk Herniatio n at LS-Sl, Low Back Pa in and right leg
                                                GSB Building Suite 620, One
                                                                                      pain 8/10, He had difficulty to tie his shoe,
       6/30/ 2009   Michael M Cohen MD         Bel mo nt Avenue, Ba la Cynwyd,
                                                                                   numbness and w eekness in right leg, NO PRIOR
                                                         PA 19004
                                                                                        SIGNIFICANT INJURIES OR AC CI DENTS
                                                GSB Building Suite 620, One
                                                                                 The Pat ient reports that they have suffered from no
       6/3/2009     Michael M Cohen MD         Belmont Avenue, Ba la Cynwyd,
                                                                                         prior significa nt injuries o r accidents
                                                         PA 19004
                                                GSB Building Suite 620, One
       5/4/ 2009    Micha el M Co hen MD       Belmont Avenue, Ba la Cynwyd,           No prior significant injuries or accidents
                                                         PA 19004
                                                GSB Building Suite 620, One
                                                                                 The Pat ient reports that they ha ve suffered from no
       4/7/2009     Michael M Cohen MD         Belmont Avenue, Ba la Cynwyd,
                                                                                         prior sign ificant injuries or accidents
                                                         PA 19004




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         On April 18, 2011, Utley was first duly sworn and called as a witness

   for a deposition with the DOL, Department of Hearings and Review, for the

   purpose of determining if Utley should receive PECA benefits. As part of that

   proceeding, Utley was asked the following questions under oath:

                Q:    Have you sustained any other injuries since your
                      work injury in 2009?

                A:    Have I sustained any other injuries?

                Q:    Other injuries, intervening injuries to your back?

                A:    To my back? I mean besides its pressing on my
                      nerve and I have other, you know, my doctors say
                      it's causing my high blood pressure. I wasn 't
                      taking any medication before this, but they say its 's
                      also causing my blood pressure to be high.

               Q:     Have you been involved in any other accidents,
                      automobile accidents?

               A:     No.

               Q:     Or anything like that ...

               A:     No.

               Q:     is what I'm asking?

               A:     No, ma 'am.

               Q:     Filed any other workers compensation claims?

               A:     No. No, ma 'am.




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          On July 21, 2011 , the Hearing Representative for the Department of

   Labor's Department of Hearings and Review concluded in her decision report,

   "Based on the hearing testimony, together with the written evidence of record,

   I find that the decision [denying benefits] should be reversed, and accepted

   conditions expanded to include an HNP [herniated disc] at LS-Sl. " This

   conclusion now permitted Utley to receive benefit payments from DOL-

   OWCP for his purported back injury. Thereafter, Utley received both lump

   sum payments (dating back to his alleged 2009 injury) as well as regular

   monthly disability benefits payments (from July 2011 forward) . The monthly

   benefit payments ranged from approximately $2,600 (in 2011) to upwards of

   $3 ,300 (in 2019).

                          Lack of Prescri tion Pain Medication

          A case cost records review revealed that, prior to this being accepted as

   a compensable inj ury by DOL-OWCP, Utley was prescribed and received

   pain medication for his back injury. However, since the July 21 , 2011 decision

   (above) , Utley's medical billing records reflect that DOL-OWCP paid only

   $14 for prescription medicine in 2012. Furthermore, from 2013 to the present,

   Utley has not required or filled any prescription medications through the

   DOL-OWCP. Records from the Department of Veterans Affairs show that he

   has filled no prescription pain medications (other than a June 2020




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   prescription for Ibuprofen) during that same period. This overall lack of

   prescription pain medication is inconsistent with the painful disabling medical

   conditions repeatedly asserted by Utley to the DOL-OWCP.

               Prior Insurance Claims/ Settlements for Back In·uries

          On October 10, 2018, USPS Office of the Inspector General (OIG)

   Special Agent Mike Walsh (SA Walsh) conducted a search of a National

   Insurance Setvices Office database . This database is a repository where

   insurance companies report automobile accidents as part of an effort to

   address potentially fraudulent claims in the insurance industry.

         According to this database , Utley has been in at least nine automobile

   accidents , several of which pre-date his alleged January 2009 back injury with

   the USPS. Utley failed to report these accidents/injuries from prior to April

   2011 to the DOL, Department of Hearings and Review (as referenced above);

   he also failed to report the insurance settlement payments he received from

   2012 onward to the DOL-OWCP in his annual EN-1032 form . These specific

   accidents in the database involving Utley are described below:

                          In 1989, Utley was in an automobile accident where he
                          injured his back. No other records were available for this
                          accident.

                          On October 1, 1996, Utley was in another automobile
                          accident. He retained a law firm and filed a civil suit
                          against State Farm Insurance for an injury to his neck,




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                          shoulders, left arm, and back, as well as headaches.
                          Subpoenaed grand jury records revealed that Utley
                          claimed an injury to his mid to lower back with disc
                          narrowing at L5-S 1. Doctors for State Farm examined
                          Utley during this civil suit and determined that Utley had a
                          pre-existing "incomplete fusion at LS." "Sacralization" (as
                          this condition is called) is a common irregularity of the
                          spine, where the fifth vertebra is fused to the sacrum bone
                          at the bottom of the spine. The fifth lumbar vertebra,
                          known as LS, may fuse fully or partially on either side of
                          the sacrum, or on both sides. Sacralization is a congenital
                          anomaly that can cause chronic lower back pain. Utley
                          claimed he was not able to work due to this accident.

                          On December 20, 2002 , Utley was in another automobile
                          accident. He retained a law firm and filed a civil suit
                          against American Insurance Company, for a neck and
                          back injury. No other records were available for this claim.

                          On March 6, 2012, Utley was in another automobile
                          accident. He retained a law firm and filed a civil suit
                          against Tokio Marine Specialty /Philadelphia Insurance
                          Company for a lower back injury. On March 14, 2012 ,
                          Utley received an initial settlement check for $7,156.68 .
                          On May 5, 2015, the civil suit settled. Utley received
                          $145 ,000 (before paying attorney's fees) on May 14, 2015.
                          Subpoenaed bank records showed that Utley later
                          deposited $80,011.84 into his bank account. None of these
                          proceeds were reported by Utley to the DOL-OWCP.

                          On July 24, 2015, Utley was in another automobile
                          accident. He retained a law firm and filed a civil suit
                          against GEICO Insurance for injuries to his back and
                          neck. Records revealed that Geico did not pay Utley for
                          his alleged injuries.




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                          Utley' s Unreported Business/Income

          Throughout the period that he has been receiving PECA benefit

    payments, Utley has been operating businesses without disclosing them to the

    DOL-OWCP. For example, subpoenaed bank records show that on March

    28, 20 13, Utley drafted and deposited a check for $3 ,100 from a company,

    "Elite Rubbish Removal, Inc. " Utley endorsed the check as the authorized

   signatory for the company and then deposited the check into his personal bank

   account. Even though he was required to do so, Utley never reported these

   funds to the DOL-OWCP, nor did he report his association with this business.

          On April 4, 2013, Utley filed Articles of Incorporation with the

   Pennsylvania State Division of Corporations for "Elite Rubbish Removal,

   Inc." The business was registered to Utley's residential address on Pine Street,

   Glenolden, PA 19036. The Articles of Incorporation were signed by Utley.

   The company remains active to the present day. Again, Utley never has

   reported his association with this company to the DOL-OWCP.

          An open-source internet search for "eliterubbishremoval.com" revealed

   that the website was registered and created by George Utley on May 23, 2013.

   It remained active for one year through a server (schlund.info) in Germany.

   The administrative contact email for eliterubbishremoval.com was

   "blackrebel65@XXXXX.com" (redacted). The registered address for the




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   company was Utley's on Pine Street in Glenolden, PA 19036. The company

   has a phone number of (610) XXX-0909 (redacted), which belongs to Utley's

   cellular telephone.

             On May 14, 2013 , subpoenaed bank records revealed that Utley opened

   a new business checking account with TD Bank for "Elite Rubbish Removal ,

   Inc." The bank account was registered to his residential property in

   Pennsylvania. Utley loaned the business money from his personal bank

   account and drafted checks for various expenses , including a $4,106.27 check

   written to "All Pro Trailer, in Jacksonville FL" on June 6, 2013. 4 In addition,

   Utley drafted a check to Verizon wireless for the same cellular phone

   number-(610) XXX-0909. This phone number was linked to a yellow-page

   telephone book advertisement for "Elite Rubbish Removal , Inc. " Again, none

   of this employment or business activity was reported to the DOL-OWCP.

             As referenced above , the DOL-OWCP sent Utley a required EN-1032

   in July 2012 that he subsequently failed to return. As a result, on September

   12 , 2012 , the DOL-OWCP sent Utley a warning letter stating, in pertinent

   part:

                    Section 10.525(a) of the office's regulations requires
                    the claimant to report earnings from any
                    remunerative employment, whether full or part
                    time. If timely response is not made, the right to

   4
       Jacksonville is located within the Middle District of Florida.



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                 compensation for wage loss is suspended until the
                 report is received, at which time compensation will
                 be restored retroactively. If the employee omits or
                 understates earnings, compensation will be declared
                 forfeit for the period involved. Moreover, criminal
                 prosecution may result if deliberate falsehood is
                 employed in providing answers .

   Utley later returned the EN- 1032 form, though he failed to report any earnings

   from his full or part-time remunerative employment.

                    Residency in the MDFL/Proof of Treatment

          On June 3, 2015 , Utley established residency at Marion Oaks Manor,

   Ocala , FL 34473. This location is in Marion County , within the Middle

   District of Florida.

          Afterward, on July 20 , 2015, the DOL-OWCP contacted Utley by

   telephone and advised him that had to submit updated medical evidence of his

   work-related injury in order to support his assertion of continued disability.

   The DOL-OWCP pointed out to Utley that they had not received any

   supporting medical evidence since 2013 .

          On July 27 , 2015 , Utley requested an extension of time to file his

   supporting medical evidence because he was "on vacation" from July 20-

   August 17, 2015. While on vacation , he asserted that he could not comply

   with the DOL-OWCP's request for additional medical documentation.




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          A year later, on July 29, 2016, the DOL-OWCP received a written

   statement, signed by Utley, regarding their July 2015 request for additional

   supporting medical information for Utley's disability claim. Utley wrote,

   "Since I have lived in Florida[,] the only doctors I have seen have been VA

   [Department of Veterans Affairs], an[d] unfortunately for me, they do not fill

   out this paperwork." He supplied no medical records with this written

   statement.

         Utley's claim of receiving medical treatment for his purported back

   injury through the Department of Veterans Affairs was false. While Utley did

   receive medical treatment through the Department of Veterans Affairs, it did

   not relate to his back injury claim through DOL-OWCP.

                The Philadelphia Housing Authority - Landlord Utley

         Certified records from the Philadelphia Housing Authority in

   Philadelphia, Pennsylvania, revealed that Utley completed a Landlord Owner

   Certification Training Course on July 31 , 2013. From at least April 15 , 2015,

   to March 1, 2017, Utley, under his unique account number, received monthly

   housing assistance payments of $1,412 for his property on Esta ugh Street,

   Philadelphia, PA 19140. Utley was the landlord for this property. The

   payments came directly from the Philadelphia Housing Authority.




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            Despite the requirements of the annual EN-1032 forms, none of this

   income or business activity ever was reported by Utley to the DOL-OWCP.

   Records from the Philadelphia Housing Authority also revealed that Utley

   had purchased the property for one dollar on May 18, 2009. He has started

   renting it in 2013-after he began receiving his DOL-OWCP benefit payments

   and the associated EN-1032 reporting forms. Utley also had the following

   contact information on file with the Philadelphia Housing Authority:

                  George W . Utley, Jr.
                  XXXXX Bolton Lane (redacted)
                  Willingboro NJ, 08046
                  Email: blackrebel65@XXXXX .com (redacted)
                  Phone number: (215) XXX-8047 (redacted)

   Notably, the email address matched the address for Utley's other unreported

   business, Elite Rubbish Removal (above). Furthermore, on May 23 , 2017,

   Utley filed an Internal Revenue Service Form W-9 in which he listed his

   residential address on W Blossom Drive , Beverly Hills (Citrus County], FL

   34465.

         An internet search for Utley's Philadelphia property on Estaugh Street

  revealed a rental advertisement on the website "www.gosection8.com." On

   the website , Utley had advertised the property with a rental income of$1,900

  per month-none of which ever had been reported to the DOL-OWCP.




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                             Facebook Postings by Utley

          Despite Utley's claims of a debilitating, work-related back injury in

   January 2009, a Facebook search also revealed that Utley could perform

   activities outside of his stated medical restrictions. For instance , on May 15 ,

   2015 , Utley posted a picture of himself sitting on a workout weight bench:




   On September 26, 2015 , Utley posted a picture of himself wearing riding gear

   and standing next to a mountain bicycle:




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   On September 26, 2016, Utley posted two pictures of himself after an

   overnight offshore fishing expedition and later holding a large kingfish

   (approximately 3-4 feet long):




   On April 20, 2019, Utley posted a picture of himself at the Grand Canyon:



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   The Grand Canyon picture had the caption, "All the way to the edge of the

   Grand Canyon and still meet people from [P]hilly."

                              Surveillance by USPS-OIG

         In March and April 2019 , SA Walsh conducted video-recorded

   surveillance of Utley's Citrus County residence on West Blossom Drive,

   Beverly Hills, Florida. The surveillance consisted of two separate 21-day

   periods. The recordings captured Utley doing yard maintenance for several

   hours at a time. Utley repeatedly lifted and carried various items. He pushed

   and pulled these items. He bent at the waist, stooped, squatted, stood, and

   walked without any assistance . Utley hitched and unhitched a flatbed car

   carrier and a box trailer from his truck. A records check showed that he had

   purchased these trailers with funds from his business , Elite Rubbish Removal,




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   Inc. Utley also hauled a race car to and from his residence, often crawling

   underneath the race car and the flatbed trailer.




          Utley with his race car loaded onto a hitched.flatbed trailer in April 2019.

   All these activities are inconsistent with the physical limitations that Utley has

   long claimed in his dealings with the DOL-OWCP. Furthermore , he never has

   reported any change in his medical condition that would have supported these

   physical activities in his submitted EN-1032 forms.

                      Examination b a DOL-OWCP Ph sician

         On December 4, 2017, Fanourios I. Ferderigos, M .D. , examined Utley

   on behalf of the DOL-OWCP. Dr. Ferderigos performed this examination as a

   second opinion review of Utley's case. In accordance with the terms of the

   DOL-OWCP disability program, the purpose of the examination was to assess



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   whether Utley was capable of returning to duty with the USPS in some

   capacity (as Utley was receiving benefits under a "return to work" program).

   Dr. Ferderigos ultimately opined that Utley could return to work for the USPS

   eight hours per day, with restrictions , in a light to medium capacity job.

         Based upon these conclusions, on May 8, 2018 , the USPS offered Utley

   employment within these stated medical restrictions. Utley, however, did not

   accept the position. Instead, Utley started vocational rehabilitation training-a

   program to learn new job skills through the DOL-OWCP. On April 29,

   2019-while in the middle of that training program-CT tley told a vocation

   rehabilitation specialist that he would "never return to work."

         On March 17, 2019, Utley filed an election of benefits form with the

   DOL-OWCP. In the form , Utley indicated his desire to switch from the DOL-

   OWCP "return to work" disability program to a regular government

   retirement provided by the Office of Personal Management (OPM) . Unlike the

   DOL-OWCP program, the OPM program does not seek to return the injured

   person to the workforce. This OPM retirement was earned using credit for

   approximately 7 years and 10 months of service during Utley's DOL-OWCP

  claim. 5 The OPM program pays, therefore , a slightly lower percentage of the



  5
   OPM bases its retirement calculation on a government employee's three highest
  years of salaried service. Utley's three highest years of service (with a salary of
  $56 ,696) occurred during the period of fraud .



   Defendant's Initials   6v1                  43
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   person's salary as a monthly benefit and works in conjunction with Social

   Security Administration (SSA) disability benefits. Despite the switch in

   disability programs, however, Utley continues to receive his medical disability

   benefits through DOL-OWCP and will do so for the remainder of his life. 6

                      Sale of Utle 's Citrus Conn     Residence

         On April 24, 2019 , Utley sold his Citrus County residence on West

   Blossom Drive, Beverly Hills. The publicly available real estate listing for the

   residence included interior photographs. One photograph depicted U tley's

   elaborate home gymnasium:




                                                                    I


  6
    As of March 2019, however, he no longer has a reporting requirement to the DOL-
   OWCP .



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          Following the sale of his residence, Utley purchased a fifth-wheel

   recreational vehicle (RV) and travelled to various tourist destinations across

   the United States. These locations included Key West (Florida), South

   Dakota, and the Grand Canyon (Arizona). On April 20, 2019 , Utley posted a

   picture on Facebook of his truck and his fifth-wheel recreational vehicle

   backed into a beach parking area :




   The photograph had the caption, "Beast and The Game Changer @ Boyds

   Key West - Boyds Key West Campground."

                                  Another Business

         Approximately six months after his OPM retirement from the USPS

   due to his purported back injury , Utley established yet another business-

   Contemporary Concepts , LLC, in Oklahoma City, OK- on October 16,




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   2019. The business is located on NW 82 nd Street, Oklahoma City, OK 73114.

   A records search shows the primary contact email for the business as Utley's

   email- blackrebel65@XXXXX.com (redacted). The name of the registered

   agent for service of process is "George Utley." The email address registered to

   the business is "contemporaryconceptsllc@XXXXX.com" (redacted). The

   registered agent's street address is on 6Yd Place, Oklahoma City, OK 23139.

                                E-mail Search Warrant

          On April 27, 2020, SA Walsh executed a federal search warrant for the

   contents of Utley's email account, Blackrebel65@XXXXX .com (redacted,

   MDFL Case No. 5:20-mj-1060-PRL). The search warrant encompassed

   emails from January 14, 2009 to May 15, 2020 . More than 75 ,000 emails were

   reviewed. These emails confirmed that Utley had been engaged in physical

   activities and businesses since at least March 28, 2013, and had large sources

   of income , none of which had been reported to the DOL-OWCP. Had Utley

   complied with his reporting requirements, he would not have received the

   disability benefit payments at issue in this case.

          For example, Utley's e-mails showed that be began planning his

   business, Elite Rubbish Removal, as early as May 10, 2011 , while

   simultaneously claiming his total disability and an inability to work with the

   DOL-OWCP.




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     Future business startup cost
                                                                     )   )   ➔   ...
                   Carollittlejohn <b1ackrebel65@yahoo.com>
                   Tc


    Future businessstartup co~t
     '
    Rep 1r&rent 2225 estaugh St
      20,00J
    Startup for UTL Rubbish &Snow removal business
         25,(XX)
    Purchase 2220 estaugh St
         15,(XX)




   Later, on August 3, 2012, while receiving disabled payments and reporting to

   the DOL-OWCP that he was unable to work, Utley outlined in more detail

   the plans for his rubbish removal business:




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     UTL
                   Carollittlejohn <blackrebel6S@yahoo.com >
                  To                                                               8.i3/201 2
     •
         UTl
    Rubbish and Snow
    Removal Professionals           Allocate 30,000 start up cost
    Requirements :
    2008 Toyota Tundra.     21,000
    6 x 12 dumpster trailer
    (420cu ft) .             3,500
    Business license
    Business insurance
    2 wheeled trash cans           40
    1 wheel barrel                     so
    Snowplow.                    3,500
    Tailgate salt spreader.       800 snow blower.                  1,000
    2 shovels                        35



    Expansion allocate 25,00
    2008 Ford F-150           10,000
    6 X 12(420 CU ft), 7 X 14
    (500 cu. ft) dump trailers.
                                   8,500
   Wheel barrel.                    50
   Snow plow                   3,500
   Tailgate spreader.            800
   2 snow blowers.             1,000
   2801 Bethlehem pike Hatfield pa
   5821 n 2nd




               A June 24, 2013 e-mail from" landl.com" revealed invoices paid by

   Utley for website hosting services for his business, eliterubbishremoval.com:




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                                                                                                Invoice Date:                    06/24/2013
                                                                                                Customff ID:                     220749122
                                                                                                Contrlct ID :                     44399008
                                                                                                Invoice No. :                202003!>09379



    George Utley                                                                                                           CUstomerServicr
                                                                                                                  E-Ma~: billing@1 and1 .com
    237 Pine St                                                                                                      http://wWW.1and1 .com

    GLENOLDEN, PA 19036
    UNITED STATES




    Invoice Summary (1 &1 MyWebsite - Plus Package)

    Billing period starting: 06/23/2013

    -      No.      5ervic:r                                       Olllges                                                                Total
    1      22173    Basic Ftt                                       S19.99 a month                              3mo.                    $59.97
                    06/23/201 3-09/23/2013 s471708.381 .initial-website.com elnrrubbishfffllOVll.com
    2      22175    Service Sei:-Yp Ftt                             S0.00 per piece                             1 ittm                    S 0.00

    Total lfflOUnt d~                                                                                                                   SS!U7

    The total amount due will be! charged to your credit cam.Thank you.




            In February 2016, Utley received e-mails and invoices from AOC

  Maintenance addressed to another one of his businesses- AOC Property

  Management on Bolton Lane, Willingboro, NJ 08046. This is the same

   address Utley maintained with the Philadelphia Housing Authority. The AOC

  Property Management documents listed Utley's contact telephone number

  (215) XXX-804 7 (redacted). Later in the same year, after Utley had completed

  his July 2016 EN-1032 , the customer block of the AOC Maintenance invoices




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   changed from "AOC Property Management" to simply "George Utley." None

   of this business activity ever was reported by Utley to the DOL-OWCP.

          In June 2016, Utley received another e-mail describing a 24-hour

   overnight fishing trip he had booked. This type of physical activity was

   completely inconsistent his specified medical condition. After the 24-hour

   fishing trip, pictures attached to subsequent emails showed a center console

   boat with multiple passengers, the number of fish caught, and the name of the

   charter fishing service, as reflected below:




   Defendant's Initials   Git:{               50
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    Fishing trip
                 Gman <hgardman@tampabay.rr.com>
                 To      Dennis D; George U; Rich Patterson; Beesley                                                                         6{1/2016
    •
    © weremoved extra line breaks from this essage.


                       Fishing Trip.. .Final notice OVemight Fishing Date: June 14/15. Tuesday June 14 and return sometime afternoon Wednesday June 15.
   Boat location: Meet at 8:00 a.m Will depart as soon as we get boarded .... location of departure: McRae'sFish house: 5300 s. Cherokee Way,
   Homosassa Florida .. near the Riverside nki hut/restaurant. Bring something to wrap/wear for cool night out.
    Chuck Beesley will bring his 96 qt cooler the community cooler for drinks and wrapped food.

   George please be at my house by 7:15 at: 3029 N. Annapolis Ave ....if you intend to meet me at McRaes call me.

   call me if need: 352 746 6989 ...cell 443 8891098

   The six guys fishing are: Dennis Deiasi; Chuck Logann; Chuck Beesley; RitchiePattersonjcoming up from Richmond, Va), George Utley and Herman
   Gardner




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                            Utley holding a large fish (left).




                     Utley standing on the fishing boat (center).



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                             Loss to DOL-OWCP /USPS

          As a result of Utley's fraudulent conduct relating to his DOL-OWCP

   back injury claim, the United States suffered a loss totaling $732,459.46

   between 2009-2019. Utley received these stolen funds as a direct result of his

   failure to truthfully report his prior accidents/injuries, other sources of

   income/employment, and the improvement in his specified medical

   condition. He then converted these government funds to his own use. Had he

   complied with the mandatory reporting requirements, Utley would not have

   received these DOL-OWCP benefit payments.




   Defendant's Initials   a &1                53
